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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

In re:                                              Chapter 11

MICHAEL JERMAINE DICKEY AND                         Case No. 21-51575-SMS
CAJGIE MCGAHA DICKEY,

                           Debtors.



               DEBTORS’ RESPONSE TO UNITED STATES TRUSTEE’S
              OBJECTION TO DEBTORS’ ELECTION TO PROCEED AS
            SUBCHAPTER V DEBTORS AND BRIEF IN SUPPORT THEREOF

         Michael Jermaine Dickey and Cajgie McGaha Dickey (collectively, the “Debtors” or the

“Dickeys”) file this Response to the United States Trustee’s Objection to Debtor’s Election to

Proceed as Subchapter V Debtors [Doc. 28] (the “Objection”) and asks this Court to overrule the

Objection. In support of this Response, the Debtor respectfully shows the Court as follows:

                                          INTRODUCTION

         American policy has always encouraged entrepreneurship. Some would say that

entrepreneurs built America (with plenty of help, of course). Deeply embedded in the American

psyche is the “American Dream” of owning your own business, taking a few risks, and reaping the

rewards. Of course, not every entrepreneur is successful in their initial ventures. American

folklore is replete with examples of entrepreneurs who failed time and again before becoming

wildly successful.

         Naturally, the American government wants to encourage entrepreneurs to take on the risk

of failure. Gone are the days of debtor’s prisons—or worse—for risk-takers who find themselves

unable to service their debts due to unfortunate twists of fate. Instead, the framers of the American

Constitution determined that it was important to have a nationwide bankruptcy system with
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uniform laws throughout the country. In so doing, they ensured that entrepreneurs who found

themselves victims of misfortune would not be personally destroyed. This awareness of the ability

to deal with their debts through the bankruptcy system is a key factor that encourages entrepreneurs

to take risks in the first place.

        Bankruptcy laws have gone through many stages of evolution. Most notably, of course,

was the enactment of the Bankruptcy Code and the creation of bankruptcy courts. Over the last

few decades, Congress has enacted several pieces of legislation overhauling the Bankruptcy Code,

in recognition that the system is not perfect and continues to be a work in progress. The most

recent overhaul was the Small Business Reorganization Act of 2019 (the “SBRA” or “Subchapter

V”). Congress enacted the SBRA with a recognition that Chapter 11 of the Bankruptcy Code, in

its then-current form, was designed for large companies and was simply not practical for the vast

majority of small businesses and entrepreneurs due to the high cost and complexity.

        Over the past year, the global COVID-19 pandemic has devastated the restaurant industry,

and the story of Mr. and Mrs. Dickey is unfortunately all too common, making the availability of

Subchapter V to people like them more important than ever. Prior to the pandemic and its

economic consequences, the Dickeys owned and operated two successful Uncle Maddio’s Pizza

franchises. As personal guarantors on numerous business loans, they were forced into personal

bankruptcy when their restaurants succumbed to the economic downturn caused by the pandemic.

        Because the majority of the Dickeys’ debt is commercial in nature, they qualify as “small

business debtors” under Subchapter V. Further, the Dickeys qualify as “small business debtors”

under Subchapter V because Mr. Dickey is actively pursuing consulting opportunities in order to

remain in the restaurant industry, and because they own and actively manage and operate income-

producing property.



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                                          BACKGROUND

       Mr. and Mrs. Dickey are husband and wife. Mr. Dickey is the sole owner of CMR

Concepts, LLC (“CMR I”), which formed in 2014, and CMR Concepts II, LLC (“CMR II”),

which formed in 2017 (collectively the “Businesses”). (Affidavit of Michael Dickey attached

hereto as Exhibit A).

       Each of the Businesses has operated an Uncle Maddio’s pizza franchise location, with Mr.

Dickey as the primary manager. (M. Dickey Aff. ¶¶ 5-6). While working in other capacities, Mrs.

Dickey remained actively involved in the Businesses, spending her nights and weekends in the

restaurants and, alongside her husband, working to build the Businesses. (Affidavit of Cajgie

Dickey attached hereto as Exhibit B). Both Debtors were very hands-on in the restaurants, taking

orders, ringing up customers, and even making pizzas in the kitchen when they were short-staffed.

(M. Dickey Aff. ¶ 10 and C. Dickey Aff. ¶ 5). In order to secure financing related to their ownership

and operation of the Businesses, both Debtors became personally liable on numerous business

loans. (M. Dickey Aff. ¶ 12 and C. Dickey Aff. ¶ 8). The Debtors both prided themselves on

making their restaurants inviting places where families (especially those with young children)

could gather and dine in-person together. (M. Dickey Aff. ¶ 11 and C. Dickey Aff. ¶ 7).

       When the pandemic struck, the Dickeys heeded the advice of the CDC and the Georgia

Department of Health, and they complied with local restrictions in the cities where the Businesses

were located, closing the Businesses’ doors to dine-in service for the health and safety of customers

and employees. (M. Dickey Aff. ¶ 13 and C. Dickey Aff. ¶ 9). Georgia’s governor issued a shelter-

in-place order on April 2, 2020, which permitted restaurants to offer take-out food, but this was

simply not enough. The Dickeys’ business model relied on their dine-in customers. The Dickeys

tried to increase the volume of their delivery business using delivery apps such as Grubhub and



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Uber Eats, but these apps required a 30% share of each order, which made delivery unprofitable.

(M. Dickey Aff. ¶ 15). Sadly, like countless other restaurants, the Businesses could not survive

on takeout alone. (M. Dickey Aff. ¶ 14). The COVID-19 pandemic forced the Dickeys to make

the sound business and public-health decision to close their doors, at least temporarily.

       Their once-thriving Businesses had seen a drop in gross revenue of 60-70% in March 2020

through the end of April 2020 compared to that period the previous year. (M. Dickey Aff. ¶ 16).

The Dickeys planned to reopen the Businesses once dine-in service was allowed to resume, but

the Businesses could not meet their debt obligations while closed, and both Businesses were forced

to terminate their commercial property leases (M. Dickey Aff. ¶¶ 17-18). Also at that point, Ameris

Bank, which held a blanket lien on CMR I’s property, and Mid First Bank, which held a blanket

lien on CMR II’s property, responded to the Businesses’ financial struggles by repossessing the

pizza ovens, under-counter cookers, shelves, tables, chairs, restaurant utensils, and booths from

each location. (M. Dickey Aff. ¶ 18). The Dickeys were absolutely devastated to see the decade

worth of work that they poured into their Businesses ripped away.

       The COVID-19 pandemic forced both CMR I and CMR II to begin winding down their

operations, culminating with each filing chapter 7 bankruptcy cases on August 10, 2020 (Case nos.

20-68843 and 20-68844). (M. Dickey Aff. ¶ 19). The Debtors attempted to work out payment

plans with each creditor for which they had personally guaranteed business loans and hoped to

avoid being forced into personal bankruptcy, but Ameris Bank sued the Debtors on their personal

guarantees, received a judgment, and began to garnish Mrs. Dickey’s paycheck and a joint bank

account, necessitating the filing of the instant bankruptcy case. (M. Dickey Aff. ¶ 23 and C. Dickey

Aff. ¶ 12). At the time of filing this case, the Dickeys were current on all of their non-business




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debt obligations, including mortgage payments, car payments, and credit card payments. (M.

Dickey Aff. ¶ 24 and C. Dickey Aff. ¶ 13).

       At the time of the filing this bankruptcy case, Mr. Dickey was actively pursuing consulting

work in the restaurant industry, specifically with other Uncle Maddio’s franchise owners. (M.

Dickey Aff. ¶ 26-28). Mr. Dickey continues to seek consulting opportunities, and he intends to

remain in the restaurant industry as the forces of the pandemic wane and our economy begins to

recover. (M. Dickey Aff. ¶ 28-29).

       In addition to the Businesses, the Dickeys own and operate a single-family rental property

that they purchased as an investment. (M. Dickey Aff. ¶ 30 and C. Dickey Aff. ¶ 15). The Debtors

actively manage the income-producing property, which includes paying the mortgage and utilities

each month, cutting the grass and maintaining the landscaping, and visiting the property several

times each month to perform routine maintenance. (M. Dickey Aff. ¶ 31 and C. Dickey Aff. ¶ 16).

       As shown in the Debtors’ Schedules filed in this case [Doc. 21], their total business debt

vastly exceeds their consumer debt. The majority of the Dickeys’ debt is commercial in nature,

and the instant bankruptcy case was filed with the intent to reorganize that business debt. (M.

Dickey Aff. ¶ 25) and C. Dickey Aff. ¶ 14).

                                          ARGUMENT

   A. Congress intended a broad interpretation of who may qualify under Subchapter V,
      consistent with the longstanding American policy of encouraging entrepreneurship.

       When enacting the SBRA, Congress intended to broaden the relief available to small

business owners by streamlining the bankruptcy process by which they reorganize and rehabilitate

their financial affairs. H.R. REP. No. 116-171 at 1-2 (2019); In re Ventura, 615 B.R. 1 (Bankr.

E.D. N.Y Apr. 10, 2020). In order to qualify to be in a Subchapter V, a debtor must meet the

definition of a “small business debtor,” which the SBRA amended to mean:


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       a person engaged in commercial or business activities . . . that has aggregate
       noncontingent liquidated secured and unsecured debts as of the date of the filing of
       the petition or the date of the order for relief in an amount not more than
       $2,725,625.00 . . . not less than 50 percent of which arose from the commercial or
       business activities of the debtor.

11 U.S.C. § 101(51D). In 2020, through the enactment of the Coronavirus Aid, Relief, and

Economic Security Act (“CARES Act”), Congress further expanded access to Subchapter V for

small business owners by raising the debt limit to $7,500,00.00.

       The intent of Congress in passing both the SBRA and the CARES Act was to expand access

to the bankruptcy system and increase the number of successful reorganizations. “Congress

recognized that many of the benefits afforded to large corporate debtors under chapter 11 were for

all practical purposes out of the reach of smaller businesses.” In re Ventura, 615 B.R. 1 (Bankr.

E.D. N.Y Apr. 10, 2020). “Chapter 11 is often an expensive and highly complicated proposition.”

Id. “Many small businesses have neither the money nor the time to navigate the process, even

with the considerations given to small businesses prior to the enactment of the SBRA.” Id.

       Congress intended to give Debtors like the Dickeys—for whom chapter 11 would be too

cumbersome, expensive, and complex—a viable reorganization option in the form of Subchapter

V. With a total debt amount of just over $1.3 million—the majority of which stems from business

debts—the Dickeys are the type of debtors whom this law was enacted to help. The traditional

Chapter 11 process is just too complex and expensive to really work for small business debtors

like them.

       The Dickeys filed this case to address their business debts, and no purpose is served by

barring their access to the relief that Congress has made available to them. In the Objection, the

United States Trustee raises some highly technical arguments without addressing the policy

underlying the SBRA or any of the practical realities that entrepreneurs face.



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        As the House Judiciary Committee Report on the SBRA notes, “Small businesses—

typically family-owned businesses, startups, and other entrepreneurial ventures—'form the

backbone of the American economy.’” H.R. REP. No. 116-171 at 2 (2019) (quoting Am. Bankr.

Inst., Final Report and Recommendations of the Commission to Study the Reform of Chapter 11,

at 276 (2014)). Families like the Dickeys, who are willing to take out business loans and take the

risk of opening small business, employ the majority of Americans. “It is estimated that companies

with 50 to 5,000 employees account for more employment than those with over 5,000.” Id. As

one of the earliest courts to examine the SBRA aptly noted, “[t]hese types of debtors who are

willing to risk everything to start and maintain their own business should not be penalized, rather,

they should be applauded.” In re Ventura, 615 B.R. 1, 18 (Bankr. E.D.N.Y. 2020).

     B. The Dickeys are small business debtors because their entrepreneurship led to the
        very debts they seek to reorganize.

        By design, the definition of “small business debtor” in the Bankruptcy Code could not be

much broader. On the one hand, the debt limits and requirements that the majority of the debts

relate to business activities establish bright lines with respect to what Congress meant by “small.”

See 11 U.S.C. § 101(51D). But on the other hand, what does it mean to be a “business debtor”?

According to Congress, the definition should include any “person engaged in commercial or

business activities.” Id. This definition would seem to encompass just about anyone in America

who works for a living.1

        It is difficult to imagine broader language and to reach any other conclusion than that

Congress intended to give bankruptcy judges vast discretion and flexibility to determine which

debtors may qualify as small business debtors in appropriate circumstances. Congress could have


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    At least one bankruptcy judge in this district has confirmed a Subchapter V plan for a W-2 employee, even after
 a creditor objected to the debtor’s eligibility to proceed under Subchapter V (but later withdrew that objection). See
 In re Ford, Case No. 20-bk-66832 (Bankr. N.D. Ga. 2020).

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adopted a narrower definition, such as being an “owner of a currently operating business” or some

other such restriction, but it did not. Instead, it adopted just about the broadest definition possible.

       As the United States Trustee recognizes in the Objection, several courts around the country

have focused on the “engaged in” language contained in the statute. Most of these cases conclude

that it is inappropriate to adopt a hyper-technical reading of the statute that would only allow a

debtor to qualify as a small business debtor where they are currently operating a particular

business. See In re Wright, 2020 Bankr. LEXIS 1240 (Bankr. D.S.C. Apr. 27, 2020); In re Bonert,

2020 Bankr. LEXIS 1783 (Bankr. Central Dist. Cal. Jun. 3, 2020); In re Blanchard, 2020 Bankr.

LEXIS 1909, 2020 WL 4032411, at *2 (Bankr. E.D. La. July 16, 2020) (observing that “the statute

neither qualifies ‘engaged in’ as currently nor formerly ‘engaged in.’”).

       Even courts which construe the statute to impose a temporal obligation to be “engaged in”

business recognize that an “actively carrying out” test is “too narrowly fashioned.” See In re

Johnson, 2021 Bankr. LEXIS 471 (Bankr. N.D. Texas Mar. 1, 2021).

       In what appears to be the seminal case addressing this issue, In re Wright, a South Carolina

bankruptcy court considered a situation nearly identical to this case, where the debtor (an

individual) closed his business entities in 2018 and filed a Subchapter V case in February 2020.

The Wright court concluded that, because the majority of the debtor’s indebtedness was related to

commercial loss, the debtor qualified to be a “small business debtor” under the SBRA definition.

The Court observed that “nothing [in the SBRA], or in the language of the definition of a small

business debtor, limits application to debtors currently engaged in business or commercial

activities.” Wright, 2020 Bankr. LEXIS 1240 at *7.

       In its analysis, the Wright Court considered the intention of Congress in enacting

Subchapter V and concluded that it did so to “broaden relief available to address small business



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debt.” Id at *7. The Wright Court also cited to Collier on Bankruptcy, quoting the following

language:

       The definition of a “small business debtor” is not restricted to a person who at
       the time of the filing of the petition is presently engaged in commercial or
       business activities and who expects to continue in those same activities under a
       plan of reorganization. That person may have incurred $2,725,625 in
       noncontingent, liquidated, secured and unsecured debts that arose from
       business activities before the date of the filing of the case, but as of the petition
       date may have discontinued those business activities. There is nothing in the
       legislative history to suggest that in this latter instance, the small business
       amendments should not apply to that person.

Id at *7 (quoting Collier on Bankruptcy ¶ 101.51D (16th ed. 2020)); see also In re Bonert, 2020

Bankr. LEXIS 1783 (Bankr. Central Dist. Cal. Jun. 3, 2020) (following Wright and permitting

debtors (married individuals) to proceed under Subchapter V even though they had closed their

business prior to the petition date).

       Just like the debtor in the Wright case, the majority of the Dickeys’ indebtedness is related

to commercial losses, and the sole reason that they filed this case is to address their small business

debts. Thus, the Dickeys qualify to be debtors under Subchapter V. The facts here are perhaps

even more compelling due to the fact that the Dickeys did not cease operations until forced to do

so by the once-in-a-century COVID-19 pandemic that has wrought worldwide devastation, but for

which they would almost certainly be operating the Businesses to this day.

       As the Trustee cites in the Objection, two bankruptcy courts have taken the opposite stance,

holding that the plain meaning of “engaged” means to be actively engaged in commercial or

business activities at the time of filing. See In re Thurmon, 2020 Bankr. LEXIS 3422 (Bankr. W.D.

Mo. Dec. 8, 2020); see also In re Johnson, 2021 Bankr. LEXIS 471 (Bankr. N.D. Texas Mar. 1,

2021). Respectfully, the Debtors believe that the Thurman court and the Johnson court reached the

wrong outcomes by ignoring practical realities and Congressional intent and resorting to



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dictionaries instead of common sense. As the Wright court observed, “’To determine a statute’s

plain meaning, [the Court] not only look[s] to the language itself, but also the specific context in

which that language is used, and the broader context of the statute as a whole.’” Wright, 2020

Bankr. LEXIS 1240 at *6 (quoting Othi v. Holder, 734 F.3d 259, 265 (4th Cir. 2013)). And as a

whole, the SBRA, Congress’s intent to aid small business owners, and the entire history of

American policy with respect to entrepreneurship compel the conclusion that a hyper-technical

out-of-context reading of the statute is inappropriate.

   C. The Dickeys are engaged in commercial and business activities.

       In any event, the Court need not decide whether to address the legal issue of statutory

interpretation and decide which other courts got it right or wrong, because the Dickeys continue

to be engaged in commercial and business activities. They continue to actively manage their rental

property, and Mr. Dickey continues to explore entrepreneurial opportunities to remain in the

restaurant industry as an independent consultant or otherwise.

       With respect to the rental property, this is not a single asset real estate case (the Debtors

have other significant assets), and this is not a situation where the Dickeys are mere investors,

absentee landlords who hire a property manager to handle the day-to-day property management.

Instead, they do this work themselves. (M. Dickey Aff. ¶ 31 and C. Dickey Aff. ¶ 16); see In re

Blanchard, 2020 Bankr. LEXIS 1909, 2020 WL 4032411, at *2 (Bankr. E.D. La. July 16, 2020)

(identifying factors it considered when determining eligibility for Subchapter V, including among

other things the debtors’ ownership of rental properties and personal guarantees on business debts).

       Mr. Dickey’s intent to remain an entrepreneur in the restaurant industry is also a key factor

to consider. While not controlling, cases under Chapter 12 of the Bankruptcy Code are helpful for

determining Congressional intent with respect to the SBRA. “Congress did not write on a blank

slate when utilizing the language” defining small business debtors or when enacting the SBRA.

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Johnson, 2021 WL 825156, at *7. In fact, Congress previously used the same language in the

eligibility provisions applicable to chapter 12 of the Bankruptcy Code, which is applicable to

family farmers. Under 11 U.S.C. § 101(17)(A), to qualify as a “family farmer” for purposes of a

chapter 12 reorganization, a debtor “must be ‘engaged in a farming operation’ when they file the

Chapter 12 petition.” In re Watford, 898 F.2d 1525, 1527 (11th Cir. 1990).

       The Eleventh Circuit has adopted a standard that examines “whether, in view of the totality

of the circumstances, the debtor intends to continue to engage in a ‘farming operation’ even

though he or she was not engaged in the physical activity of farming at the time the petition was

filed.” Id. (emphasis added). In holding that the debtors’ intent is a relevant inquiry, the Eleventh

Circuit Court of Appeals aptly noted that “[c]learly, Congress did not intend that farmers who

make sound business decision pre-bankruptcy in an effort to remedy their financial

woes . . . should be excluded from Chapter 12 relief when their immediate intention is to

reorganize by actually farming.” Id. at 1529 (internal citation omitted).

       It is common for farmers to let fields lie fallow to allow nature to rejuvenate the soil.

According to the Eleventh Circuit, such actions would not disqualify farmers from being eligible

under Chapter 12. Similarly, the forces of nature—particularly the worldwide COVID-19

pandemic—forced many restaurants to close, some temporarily, some permanently. It would seem

that under the United States Trustee’s interpretation, even the owners of restaurants that were

closed temporarily would not qualify under Subchapter V if they were not “currently” operating.

Such a result would be nonsensical and contrary to the Eleventh Circuit’s guidance in Watford.

       The SBRA was enacted prior to the COVID-19 pandemic. “Had Congress been given a

crystal ball with the power to see what the world is facing today, including the severe disruption

to our Nation’s economy and its impact on small businesses, Congress likely could not have drafted



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a more effective set of mechanisms to help these businesses reorganize and hopefully survive.”

Ventura, 615 B.R. at 6. Of course, hindsight is always 20/20, which is perhaps why Congress and

the Eleventh Circuit have adopted such flexible tests, giving bankruptcy courts wide discretion to

hold that debtors are eligible to proceed under Subchapter V in appropriate cases like this one.

                                          CONCLUSION

       For the reasons set forth above, the Court should overrule the Objection and determine that

the Debtors are eligible to proceed under Subchapter V of Chapter 11 of the Bankruptcy Code.


 Dated: April 14, 2021                            Respectfully submitted,

                                                  ROUNTREE LEITMAN & KLEIN, LLC


                                                  /s/ Benjamin R. Keck
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                                     Exhibit A




                              Michael Dickey Affidavit
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                                     Exhibit B



                               Cajgie Dickey Affidavit
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                                   CERTIFICATE OF SERVICE

        I hereby certify that on April 14, 2021, I filed the foregoing pleading through the Court’s
CM/ECF system, which caused the parties whose email addresses are listed below to receive
electronic service thereof:
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 Dated: April 14, 2021                              Respectfully submitted,

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